
Healthy Way Acupuncture, P.C., as Assignee of Sauri Bueno, Respondent, 
againstCountry-Wide Ins. Co., Appellant.




Jaffe &amp; Velazquez, LLP (Jean H. Kang of counsel), for appellant.
Gary Tsirelman, P.C. (Stefan Belinfanti of counsel), for respondent.

Appeal from a judgment of the Civil Court of the City of New York, Kings County (Theresa M. Ciccotto, J.), entered June 1, 2016. The judgment, after a nonjury trial, awarded plaintiff the principal sum of $13,205.




ORDERED that the judgment is reversed, with $30 costs, and the matter is remitted to the Civil Court for a new trial. 
This action by a provider to recover assigned first-party no-fault benefits was consolidated for purposes of a nonjury trial with five other actions. After taking testimony as to the first of the six cases, Healthy Way Acupuncture, P.C., as Assignee of Nieves Jason v Country-Wide Ins. Co.  ( Misc 3d , 2019 NY Slip Op  [appeal No. 2016-1765 K C], decided herewith), the Civil Court found in favor of plaintiff in this action, and a judgment awarding plaintiff the principal sum of $13,205 was entered accordingly. 
We agree with defendant that the judgment must be reversed, as no testimony was taken as to this action, and a new trial should be held. 
Accordingly, the judgment is reversed and the matter is remitted to the Civil Court for a new trial.
PESCE, P.J., ELLIOT and SIEGAL, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: January 18, 2019










